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3                                                                                 Hon. Robert J. Bryan
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6                                   UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON AT TACOMA
7
     TODD WALSH,                                               No. 3:15-cv-05440-RJB
8
                          Plaintiff,                           ORDER ON JOINT MOTION TO
9                                                              DISMISS INDIVIDUAL MEDICAL
               vs.                                             PROVIDERS WITH PREJUDICE
10
     CONMED, INC.; et al.,
11
                          Defendants.
12

13             THIS MATTER, having come before the Court on the Parties Joint Motion to Dismiss

14   Individual Medical Providers With Prejudice, the Court having reviewed the records and files

15   herein through recent dispositive motions and pre-trial preparation, and the Court being fully

16   advised in the premises, now, therefore, it is ORDERED that that all causes of action alleged

17   against the individual medical providers, Jenni Zupfor, PA, Lilly Beasley, RN, and Devin

18   Allen, RN are now hereby dismissed with prejudice from the above-captioned matter, and these

19   individual medical providers are hereby dismissed as parties from the case with prejudice.

20             ENTERED this 9th day of November, 2016.

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                                                 A
                                                 ROBERT J. BRYAN
                                                 United States District Judge
24

25
     ORDER ON JOINT MOTION TO DISMISS
     INDIVIDUAL MEDICAL PROVIDERS WITH
     PREJUDICE - 1
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